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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                             CRIMINAL 08-0242CCC
 1) GILBERTO RODRIGUEZ
 2) ANGEL MENDEZ
 3) SUGEYL RODRIGUEZ
 4) BARBARA RAMOS
 5) YAMILET FAJARDO
 6) MARYLIN PINEDA
 7) MILDRED BAEZ
 8) PEDRO PEREZ
 9) CARMEN SEIN
 10) RICHARD PIETRI
 11) EUSEBIO MERCEDES
 12) GERALDO CASTRO
 13) GILBERTO MODESTO
 14) ONNIS ACOSTA
 15) MARILIZ SUAREZ
 16) FRANCISCO FONTANEZ
 17) SAMUEL ESCOBAR
 18) MARTIN PERNAS
 19) ANIBAL ROSSELLO
 20) SONYA CASTELLANOS
 21) MAXIMILIEN ESPINAL
 22) MIGUEL DE AZA
 23) HARRY REYES
 24) LOUIS CRUZ
 25) JULIO MARIN
 26) GLORIA CASTRO
 27) CESAR BERROA
 28) RAYSA PACHECO
 29) JULIO CASTRO
 30) ELBA TORRES
 31) GLENDA DAVILA
 32) RAYMOND RODRIGUEZ
 33) JOEL CASTILLO
 34) YOLANDA RODRIGUEZ
 Defendants


                                       ORDER

       Having considered the Report and Recommendation filed on March 27, 2014 (docket
entry 2267) on a Rule 11 proceeding of defendant [1] Gilberto Rodríguez-Santiago before
U.S. Magistrate-Judge Camille L. Vélez-Rivé on March 7, 2014, to which no objection has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
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accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment. Defendant is advised, however, that the Court will
defer its decision on whether to accept or reject the parties’ Fed. R. Crim. P. 11(c)(1)(C) plea
agreement until it has reviewed the Pre-Sentence Report.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since March 7, 2014. The sentencing hearing is set for June 10,
2014 at 4:30 PM.
       The U.S. Probation Officer is reminded that, should any objections be raised by
defendant to the PreSentence Report, the Addendum to said PreSentence Report must
specifically identify any unresolved objections, the grounds for the objections, and the
U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The
party that raised the unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved objections
be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal
of the unresolved objections.
       SO ORDERED.
       At San Juan, Puerto Rico, on May 6, 2014.



                                           S/CARMEN CONSUELO CEREZO
                                           United States District Judge
